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                      Exhibit 1
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  1                  IN THE UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ILLINOIS
 2                             EASTERN DIVISION

 3    PROTECT OUR PARKS, INC.,              ) Docket No. 18 CV 3424
      et al.,                               )
 4
               Plaintiffs,
 5                                             Chicago, Illinois
                    vs.                        July 5, 2018
 6                                             9:45 o'clock a.m.
      CHICAGO PARK DISTRICT and CITY
 7    OF CHICAGO,

 8             Defendants.

 9
                     TRANSCRIPT OF PROCEEDINGS - Motion
10                BEFORE THE HONORABLE JOHN ROBERT BLAKEY

11
      APPEARANCES:
12    For the Plaintiffs:         ROTH FIORETTI LLC
                                  BY: MR. MARK D. ROTH
13                                311 South Wacker Drive
                                  Suite 2470
14                                Chicago, Illinois  60606

15    For Chicago Park District:
                              BURKE WARREN MacKAY & SERRITELLA PC
16                            BY:  MR. JOSEPH P. RODDY
                              330 North Wabash Avenue
17                            22nd Floor
                              Chicago, Illinois  60611
18
      For City of Chicago:        CITY OF CHICAGO, DEPARTMENT OF LAW
19                                BY:  MR. ANDREW W. WORSECK
                                  30 North LaSalle Street
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                                  Chicago, Illinois  60602
21

22
                         Laura LaCien, CSR, RMR, CRR
23                        Official Court Reporter
                   219 South Dearborn Street, Suite 1212
24                        Chicago, Illinois   60604
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25
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  1        (The following proceedings were had in open court:)

  2              COURTROOM DEPUTY:      18 C 3424, Protect Our Parks

  3   versus Chicago Park District.

  4              THE COURT:     Good morning, counsel.      Appearances.

  5              MR. ROTH:    Yes.   My name is Mark Roth, R-o-t-h.         I

  6   represent the plaintiff.

  7              MR. WORSECK:     Good morning, your Honor.       Andrew

  8   Worseck for the City of Chicago.

  9              MR. RODDY:     Good morning, Judge.      Joe Roddy on

10    behalf of the Chicago Park District.

11               THE COURT:    How are you?

12               MR. RODDY:    Very well.

13               THE COURT:    We're here -- there's actually a motion

14    asking for a different schedule.         I've received what the

15    parties submitted.      Do you want to argue that?

16              MR. WORSECK:     We'd be happy to, your Honor.

17              THE COURT:     All right.

18              MR. ROTH:     That's fine, your Honor.

19              MR. WORSECK:     Your Honor, the basic gist of our

20    motion is that the plaintiffs filed this case too soon and it

21    just doesn't make sense either from a logical standpoint or

22    from the point of efficiency just start jumping into the

23    merits of the case.      Based on the core of their complaint,

24    the way they've kind of teed up this case, their theory is

25    that the reason that the Obama Presidential Center would be
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 1   unlawful is that it would effectively be a private use of

 2   public land and that question turns on what The Barack Obama

 3   Foundation will actually be authorized to do on that land

 4   when they build the center and open it to the public and that

 5   question turns on critical legislative authorizations from

 6   the city council that would be forthcoming in a city council

 7   ordinance and part of that ordinance would be approval --

 8   anticipated approval, the city council will ultimately the

 9   final arbiter, but anticipated review and a vote on a

10   contract, an agreement between the city and the foundation

11   governing what exactly the foundation would be allowed to do

12   on that site; and this is something that the plaintiffs

13   themselves have brought to the fore of the case in the way

14   that they've pled the complaint.         They themselves referred to

15   legislative authorizations that the city has passed in the

16   past and they talk about this contemplated ground lease

17   between the city and the foundation but, of course, they

18   don't attach it and they couldn't attach it because it

19   doesn't exist.     And until the agreement is finalized and

20   approved by the city council, we just don't know what the

21   parameters of the foundation's use of that site will be and

22   what that will look like.

23              So because that is the core of their case, we submit

24   that it just makes sense to wait for those legislative

25   approvals to happen, to become crystallized, to become
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 1    finalized and then at that point it would make sense to

 ;~   address the merits of the case.

 3               THE COURT:     Anything to add?

                 MR. RODDY:     Judge, as park district we join in the

 `~   arguments in the motion from the city.

 6        ~      THE COURT:     Okay.

  1              MR. ROTH:    Your Honor, so what the city and the park

 f3   district are doing is they're asking you to rule as a matter

 ~3   of law that this complaint is premature without filing a

10    motion to dismiss or citing any case law whatsoever that

11    somehow this is premature so they're trying to get a motion

12    granted.

13               THE COURT:     Let me interrupt you for just one

14    second.    You're not asking for a dismissal, are you?           You're

15    asking for a stay?

16               MR. WORSECK:     I wouldn't call it a stay, your Honor.

17    We're asking for a period of months -- we think it will just

18    be a few number of months, two, three, four, at the most --

19    for the Court and the parties to wait until the issues become

20    properly --

21               THE COURT:     Okay.     Hang on a second.

22               MR. WORSECK:     Sure.

23               THE COURT:     You're asking for a stay then, you're

24    riot asking me to dismiss the case, correct?

25               MR. WORSECK:     We're not asking for a dismissal at
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 1   this point, correct.

 2               THE COURT:    Okay.    That's the only thing I wanted to

 3   clarify.     Go ahead, counsel.      I'm sorry.    I interrupted you.

 4   Go ahead.

 5              MR. ROTH:     No, your Honor.     What they're saying is

 6   stay the case because it's premature but it's on question

 7   that it's not premature.          So what the essence of the deal is,

 8   is that the park district is transferring land to the City of

 9   Chicago for one dollar.       That's already been approved.         No

10   question about it.       The city is then transferring this park

11   district land to the private foundation.           That's a done deal,

12   too.   All of our causes of action relate to that essential

13   transaction.

14              What they cite in their motion is, well, there might

15   be a smaller footprint to the building or that we're going to

16   vacate a street and plant grass there.            That has absolutely

17   no impact whatsoever on any of our causes of action.              The

18   complaint is not premature.

19              Now what -- just to put this into perspective, your

20   Honor, so we filed a complaint.         They came in and they asked

21   for an extension of time to answer the -- to respond to the

22   complaint, to not comply with the mandatory initial discovery

23   rules that we're supposed to comply with to not have a

24   standing order, initial status conference.            You granted

25   exactly what they asked for.         What they're really trying to
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  1.   do is stay this case now for maybe up to a year because what

 2     they're saying is, is, well, if we introduce this ordinance

 3     in July, then maybe we'll vote on it in September but, you

 4     know what, maybe we won't.      So maybe i:hen we'll vote on the

 5     ordinance in October but, again, maybe we won't.

 6               Under the briefing schedule that they're proposing,

 7     we're not even going to get any argument or perhaps even a

 8     substantive ruling until sometime in March of 2019.            They

 9     will have effectively delayed the case for almost a year.

10     We're entitled, your Honor, to rely on the deadlines set

11     forth in the Federal Rules of Civil Procedure subject

12     obviously to your ability to control your docket and we

13     understand that.    What they're asking for is egregious.             They

14     haven't cited one case whatsoever in their motion.            There's

15     nothing that supports what they're asking us -- they're

16     asking this Court to do.

17              MR. WORSECK:     Your Honor, if I may respond.

18              THE COURT:     Yeah, sure.

19              MR. WORSECK:     Thank you.     The plaintiff's framing of

20     the case supports what we're asking the Court to do in that

21     they have put at issue, direct issue the legislative

22     authorizations and the terms of the upcoming agreement.

23     Counsel said that there has already been legislative approval

24     for the park district transfer of the property to the city.

25     That's incorrect.     As we put in our motion, because the
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 1   boundaries of the site at issue have changed, a new

 2   legislative authorization is necessary.           So the city needs to

 3   pass a new ordinance authorizing that and that is anticipated

 4   to be one of the components of the upcoming ordinance.

 5              And then counsel said that the transfer from the

 6   city to the foundation is a done deal.           Well, that's just not

 7   correct, your Honor.       That would need to be something that

 8   the city council approves in the upcoming ordinance and a

 9   critical component of that would be the terms of the

10   agreement between the city and the foundation.             And even

11   the -- in their response brief in here, plaintiff has tried

12   to focus on the transfer between the park district and the

13   city, not so much the transfer or the agreement between the

14   city and the foundation, but even that transfer from the park

15   district to the city.       Under their legal framing of the case,

16   that too depends on the upcoming ordinance and agreement

17   terms because their theory for why the transfer from the park

18   district to the city is unlawful is that ultimately that land

19   will be used for a private purpose.          Well, that then just

20   takes us back to what exactly will the foundation be

21   authorized to do on that land and again that depends on the

22   upcoming legislative approvals.

23              THE COURT:     Do you need to respond to that, counsel?

24              MR. ROTH:    You're Honor, they've already -- the park

25   district has approved the transfer of the land to the City of
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  1   Chicago.     The City of Chicago in the January 2015 ordinance

  2   approved allowing the foundation to build the Obama center on

  3   the land that was transferred from the park district to the

  4   City of Chicago.     That's undisputed so all of the causes of

 5    action relate to that issue.

 6                Now we know they're relying on an amendment to the

 7    Illinois Museum Act which requires them to give the

 8    foundation at least a 99-year lease because, remember, this

 9    is a series of buildings that are going to cost a half a

10    billion dollars.     They're not giving them a five-year lease,

11    a ten-year lease.       They're relying on the Illinois Museum Act

12    which requires a 99-year lease maybe with additional rights

13    to renew.     So at a minimum, we know the parameters of the

14    deal.    It's not premature.      Whether they, you know, have a

15    smaller footprint to the library is of no consequence

16    whatsoever.

17               THE COURT:     Anything, counsel?

18               MR. WORSECK:    One last -- a couple last points, your

19    Honor.   You didn't hear my colleague here i~alk about how

20    plaintiffs would be prejudiced by this proposal and that's

21    because they simply would not be.         Nothing is going to happen

22    on this land until the legislative approvals that we've been

23    talking about take place.       And we also mention in our motion

24    that there's a separate track of federal approvals, two

25    different federal reviews that need to take place and so
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  1   those would need to be completed, too.          And then of course

  2   building permits and the like would need to be applied for

  3   and approved by the city so there's no prejudice or injury to

  4   the plaintiffs by our proposal which simply asks the Court to

  5   take stock of the case over the next coming months and we

  6   would be happy to apprise the Court in a prompt fashion if

  7   and when we have better information as to the precise

  8   legislative timetable for these events to occur.

 9               And I think it goes without saying that the city and

10    the foundation, they have as much of an interest as anyone,

11    perhaps more interest than anyone in actually getting this

12    project going forward so this is not something that's going

13    to drag on indefinitely.       The foundation and the city would

14    like to see these legislative ordinances come to fruition,

15    would like to get the agreement hashed out so they have every

16    incentive to move this along quickly.

17              THE COURT:     Do you need to address the prejudice

18    prong, counsel?

19              MR. ROTH:     Yes.   We have -- The prejudice is that

20    they're delaying our case by a year when we filed it in May

21    and they're looking i~o get some type of -- even addressing

22    the complaint on the merits maybe in 2019.           That's prejudice

23    in and of itself.     In addition, they're spending valuable

24    money that -- of our clients and justice delayed is justice

25    denied, your Honor.
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  1              THE COURT:    All right.     Counsel, let's assume for

  2   the sake of argument that we're in a time machine and we've

  3   gone forward and the city council has done everything that

  4   they're anticipated to do, any of the federal approvals have

  5   occurred, what do you anticipate would happen in this case in

  6   terms of discovery or anything else or would it simply be a

  7   briefing upon a discrete set of facts?

  8              MR. WORSECK:     We would anticipate that once all of

  9   the approvals are finished -- you know, we have said we would

 10   be happy to allow plaintiffs to amend their complaint.

 11   They've said we don't want to.         So assuming that we're kind

 12   of on the existing complaint, we think the motion -- the case

 13   could be resolved on Rule 12 motions that would, you know,

 14   look at the terms of the ordinance, the agreement would be

 15   part of that ordinance, those would be things that the Court

 16   could consider in a Rule 12 posture and, you know, we believe

 17   that the case would be subject to resolution within that

 18   context.

19               THE COURT:     What's your take on that same question,

20    counsel?

21               MR. ROTH:    Well, obviously, we disagree because it's

22    not going to be decided on a Rule 12 motion because our

23    complaint states a colorable cause of action so we're just

24    delaying their responding to the merits.           The city and the

25    park district do not want to respond to Lhe merits of this
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  1   case.   We're asking -- we're trying to hold their feet to the

  2   fire to respond --

  3               THE COURT:    Answer my question first.       What would

  4   you anticipate happening in terms of discovery, if any?

  5               MR. ROTH:    Well, I'm not sure.     I think it could be

  6   resolved on the law.       I think that we will -- the motion to

  7   dismiss -- I'm saying on behalf of the plaintiff obviously --

  8   if that's denied, then it would be probably a summary

  9   judgment on cross summary judgments.

10                THE COURT:    Without discovery?

11                MR. ROTH:    I don't want to foreclose the possibility

12    of discovery but I think --

13                THE COURT:    Well, you filed --

14                MR. ROTH:    -- discovery would be limited.

15                THE COURT:    Hang on a second, counsel.       You filed

16    the case.     What discovery do you anticipate?

17                MR. ROTH:    I don't see any discovery at Lhis point

18    in time but I -- again, I don't want to foreclose the

19    possibility but I believe that the facts are what the facts

20    are.

21               THE COURT:     Is it your position that what the city

22    council does or federal approval does would have no effect at

23    all on whatever ruling I would have to make?

24               MR. ROTH:     Correct, your Honor, because they've

25    already approved the transaction.         So any details of the
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  1.   transaction about what they -- they talk about two things:

  2    They say that the footprint of the one building might be

  3    smaller, number one.       And they say, number two, we're going

  4    to vacate a street and we're going to plant grass.            That's

  5    what they've said.       Those two things have nothing to do

  6    whatsoever with the claim; nothing.

  7                THE COURT:    We don't know what the city council is

  8    going to do, right?

  9                MR. ROTH:    Well, I -- all I can go by is what the

 10    city has put in its motion and the city has raised those two

 11    things, smaller footprint, planting grass over a street and

 12    that's it.

 13                THE COURT:    Well, the city council has to enact

 14    additional ordinances and anyone who tries to read those tea

 15    leaves of what the city may or may not do does so at their

 16    own risk.     There could be scenarios where they do something

 17    unexpected, correct, that would affect my ruling, right?

18                 MR. ROTH:    The only thing they could do that would

19     affect the complaint is to stop the Obama center from being.

20     built.   That's the only thing that they could do that would

21     impact the complaint the way it's drafted, the way it's

22     presented to you at this point in time.          That's it.

23               THE COURT:      And no one can break ground without them

24     actually going forward with an ordinance, correct?

25               MR. ROTH:      No.   I'm not sure of that, your Honor.        I
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                                                                               13




  1    believe

  2.               THE COURT:     They could go out tomorrow and break

  3    ground?

  4                MR. ROTH:    Yes, because the ordinance already

  5    approved it.

  6                MR. WORSECK:    Your Honor, again --

  7                THE COURT:     Do you want to respond to that?

  8                MR. WORSECK:    Sure.   Thank you.   Counsel is wrong

  9    that the city has approved the project going forward.            They

10     have not.    That's something that they. need to do.        That's

11     what this upcoming anticipated ordinance would be all about

7.2    would be approving the particular parameters and agreement

7.3    that would govern the foundation's use of the site.

14                 We cited a couple of things in our motion about how

15     the contours of the project have changed since 2015.            That

16     was not meant to be and certainly didn't say it was an

17     exhaustive list.      There are other things that have changed,

18     other things that still could change and it just doesn't make

19     sense to wade into those issues until we know what they are

20     and they've been crystallized, solidified and approved.

21               THE COURT:     All right.    Anything else?

22               MR. ROTH:      No, your Honor.

23               THE COURT:     Anything, counsel?

24               MR. WORSECK:      No.   Thank you.

25               THE COURT:     All right.    In light of the fact that
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  1   the parties do not anticipate discovery and any ruling I

  2   would make would have to address not only the ordinances and

  3   approvals that exist now but would have to address what

  4   changes may or may not occur, I believe a short stay in terms

  5   of an answer or MIDP discovery is appropriate.            A year is not

  6   going to happen, counsel.        I'm not going to stop this for a

  7   year.    If the city drags its feet on it which I don't know if

  8   they'll do that, it's up to them what their schedule, I don't

  9   tell them what to do, then I'm going to revisit this ruling

 10   in short order but there's a possibility that it could happen

 11   this summer.     But if it hasn't happened by the -- by

 12   September, then we're going to have a briefing schedule so

 13   it's up to the -- if the city wants to move on it and

 14   finalize whatever ordinances and clarify -- and you might be

 15   very well -- you might be right, counsel.           The ordinance that

 16   finally comes out might not change the landscape at all

 17   but -- and the fact that I don't think there's a lot of

 18   attorneys' fees that are going to be encumbered in light of

 19   the fact that I'm going to issue a stay.           There's no

 20   discovery delay because you don't anticipate discovery and

 21   the harm you're trying to prevent is not going to happen

 22   without me having some input on it by the nature of this

 23   case.

 24              So looking at all the factors, I think a short stay

 25   to the end of my next court date which -- Gloria, give me
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  1   something at the end of August.         I'l1 stay the case through

  2   and including August.      At that point if the city hasn't ruled

  3   on anything, then we're going to set an answer dale or any

  4   other responsive pleading that you want.          And if we have to

  5   revise that down the road because they end up issuing an

 6    ordinance, so be it, but I would rather we have one briefing

  7   schedule rather than two because that would cost your clients

 8    more money as well, counsel.        All right.     Gloria, give me

  9   something in August.

10               COURTROOM DEPUTY:      Tuesday, August 28th at 9:45.

11               THE COURT:     Is that good for the parties for status?

12               MR. WORSECK:     That is good for the city, your Honor.

13    I would just like to point out just so the Court is clear, we

14    mentioned this in our motion but just to emphasize the point,

15    we don't anticipate ghat the city council would sit in August

16    so just --

17               THE COURT:     Well, you said that July 27th they

18    were --

19               MR. WORSECK:     July 25th.

20               THE COURT:     July 25th.     Well, they better put it on

21    the agenda then.       All right.     Anything else?

22               MR. ROTH:     No, your Honor.

23               THE COURT:     All right.     Thank you, counsel.

24               MR. ROTH:     Thank you.

25               MR. WORSECK:     Thank you.
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     1              MR. RODDY:   Thank you, your Honor.
    ,~
             (Which concluded the proceedings in the above-entitled

    3    matter.)

    4                            C E R T I F I C A T E

    5               I hereby certify that the foregoing is a transcript

    h    of proceedings before the Honorable John Robert Blakey on
    l
         ~7uly 5, 2018.

    f3

    9    /s/Laura LaCien
                                                   July 16, 2018
 10      Laura LaCien                                    Date
         Official Court Reporter
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